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                             UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION


HELEN R. REYES,

              Plaintiff,

v.                                                           6:19-cv-00214-ADA-JCM

MASON COMPANIES, INC.
d/b/a MASSEYS d/b/a MASON EASY-PAY,

              Defendant.



                                  JOINT RULE 26(f) REPORT

        Pursuant to this Honorable Court’s Order (Dkt. #8), HELEN R. REYES (“Plaintiff”) and

MASON COMPANIES, INC. (“Defendant”) submit their Joint Rule 26(f) Report.

     1. Are there any outstanding jurisdictional issues? For removed cases based on diversity
        jurisdiction, do the parties agree that the amount in controversy exceeded $75,000 at the
        time of removal? If not, each party should state its position on the amount in controversy.

        There are no outstanding jurisdiction issues.

     2. Are there any unserved parties? If more than 90 days have passed since the filling of the
        Complaint or Petition, should these unserved parties be dismissed?

        All parties in the matter have been served and are represented by counsel.

     3. What are the causes of action, defenses, and counterclaims in this case? What are the
        element of the cause(s) of action, defenses and counterclaims pled?

        Plaintiff brings Count I of her Complaint for alleged violation of the Telephone
        Consumer Protection Act against Defendant. Plaintiff alleges that Defendant placed
        phone calls to her cellular phone using an Automated Dialing System without her
        consent.

        Plaintiff bring Count II of her complaint for alleged violation of the Texas Debt
        Collection Practices Act which prohibits a debt collection from placing continuous
        and harassing phone calls to a consumer in an attempt to forcefully collect on an
        outstanding debt.
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     Defendant denies that it violated the Telephone Consumer Protection Act or the
     Texas Debt Collection Act. Defendant further denies that Plaintiff was damaged or
     that it is liable to Plaintiff for any amount.

  4. Are there agreements or stipulation that can be made about the facts in this case or any
     elements in the cause(s) of action?

     The following facts are undisputed:

        i.   The Court has jurisdiction pursuant to 28 U.S.C § 1331.
       ii.   The Parties agree that Defendant placed calls to Plaintiff.
      iii.   Parties agree that the calls Defendant placed to Plaintiff were not for
             emergency purposes.

  5. What are the parties’ view and proposal identified in Rule 26(f)(3)?

  6. What, if any, discovery has been completed? What is any discovery remains to be done?
     Have the parties considered conducting discovery in phases?

     No discovery has taken place.

  7. What, if any, discovery disputes exist?

     At this time, no discovery disputes exist.

  8. Have the parties discussed desirability of filling a proposed order pursuant to Federal
     Rule of Evidence 502?

     The parties have discussed and concluded a proposed order is not desirable at this
     time.

  9. Have the parties discussed mediation?

     Yes, both parties have discussed mediation but are optimistic the parties will resolve
     this matter prior to any mediation being scheduled.



s/ Nathan Charles Volheim                              /s/ Adam C. Ragan
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                              CERTIFICATE OF SERVICE

        The undersigned, one of the attorneys for Plaintiff, certifies that on June 14, 2019, he
caused a copy of the foregoing, JOINT RULE 26(f) REPORT, to be served via the Court’s
electronic filing database on all parties of record.



                                               Respectfully submitted,

                                              s/ Nathan C. Volheim
                                              Nathan C. Volheim, Esq. #6302103
                                              Counsel for Plaintiff
